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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA

                                                        · '22
                                               Case No. -     MJ02095
                                                           -------
 UNITED STATES OF AMERICA,
                                                COMPLAINT
                   Plaintiff,
                                               18 u.s.c. §§ 922(g)(1) -
          V.
                                               Felon in Possession of Ammunition
 ISAIAH DOTSON,
                   Defendant.


The undersigned complainant being duly sworn states:

      That on or about June 2, 2021, within the Southern District of California,
defendant ISAIAH DOTSON, knowing his status as a convicted felon, that is, a person
having been previously convicted of a crime punishable by imprisonment for a term
exceeding one year, did knowingly possess ammunition that traveled in and affected
interstate commerce, to wit: one pistol magazine containing approximately ten rounds
of .40 caliber ammunition; in violation of Title 18, United States Code, Section
922(g)(1).

And the complainant states that this complaint is based on the attached probable
cause statement, which is incorporated herein by reference.


                                   J ES R. GILLIS, Special Agent
                                   Drug Enforcement Administration


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P.
                          7th day of June, 2022.
4.1 by telephone on this __



                                      ' Pc77-
                                         ~
                                   MICHAEL S. BERG
                                   United States Magistrate Judge
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                           PROBABLE CAUSE STATEMENT
                                     USA   v. DOTSON

1.    I am a Special Agent with Drug Enforcement Administration in San Diego,
assigned to the Narcotics Task Force integrated parcel group investigating interstate
shipments of controlled substances utilizing the United States Postal Service ("USPS'')
and other private mail carriers.

2.    On May 31, 2022, I received information from U.S. Postal Inspectors and other
law enforcement officers in Georgia pertaining to ISAIAH DOTSON ("DOTSON''). I was
informed that on October 19, 2021, a USPS mail carrier had been robbed at gun point
in Georgia. The USPS carrier had their "Arrow" key stolen, as well as their vehicle
keys, gas card for their fleet vehicle and USPS scanner. An "Arrow" key refers to a
unique key provided to USPS carriers that have a unique shape and are labeled as
USPS property. Importantly, "Arrow" keys can open a wide range of mail receptacles
across a zip code.

3. · Inspectors canvassed the area after the robbery and found two witnesses who
reported that they saw a silver sedan driving around the area shortly before the
robbery. Additionally, the witnesses observed the same vehicle flee from the area after
the robbery.

4.    On October 20, 2021, investigators learned that someone attempted to use the
stolen USPS gas card at a Shell Gas station in Georgia. Video footage captured at the
gas station depicted at least three people arriving in a silver sedan moments before
attempting to use the stolen USPS gas card. Investigators were able to submit the
captured video footage for facial recognition through the Georgia Department of
Driver's Services. One of the men that exited the silver sedan and went inside of the
convenience store for the gas station was identified as DOTSON.

5.    A criminal history inquiry of DOTSON revealed the March 19, 2019 felony
convictions in the Emanuel County Superior Court for the State of Georgia for the
following: (a) possession and transportation of a firearm by a convicted felon [§16-
11-131(b)]; (b) possession of a firearm during the commission of certain felonies [§16-
11-106]; and (c) possession, manufacture, distribution and sale of marijuana [§16-
11-30(j)]; each punishable by a term of imprisonment in excess of one year.· In
addition, to custodial time, DOTSON was placed on a 10-year term of supervision.
DOTSON has an active arrest warrant out of the Liberty County Sheriff's Office in
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Georgia, for a probation violation for being in possession of marijuana and two
firearms.

6.    On October 21, 2021, investigators obtained a "tower dump" court order from
United States Magistrate Judge Russell G. Vineyard in the Northern District of Georgia.
A "tower dump" provides investigators with all cell phone activity occurring in a certain
area at a certain time; in this case, at the time of the robbery on October 19, 2021.

7.   On November 2, 2021, the USPS mail carrier victim was shown a sequential line
up containing a driver services photograph of DOTSON. The carrier selected him as
being involved in the robbery but was only 40% sure and needed to see more of
DOTSON's body than a driver's license photograph. When shown the image of
DOTSON from the video footage captured at the gas station, the mail carrier said they
were 80% sure that DOTSON had robbed them.

8.    On January 29, 2022, law enforcement responded to another robbery of a USPS
mail carrier in Georgia. Once again, the mail carrier was robbed of their "Arrow" key.
The mail carrier reported that they were actively delivering mail when a male suspect
approached them from behind, pressed a gun against their lower back, and demanded
their keys.

 9.    On February 9, 2022, investigators obtained another "tower dump" court order
 from United States Magistrate Judge Russell G. Vineyard to obtain phone records in
.the vicinity and during the time of this robbery.

10. On April 14, 2022, investigators reviewed the results of the two tower orders
and learned that cellular phone number 912-492-XXXX was in the area at the time of
both armed robberies. Investigators ran 912-492-XXX through law enforcement
databases and learned the following: Phone number 912-492-XXXX was linked to a
Florida Highway Patrol report where they responded to a disabled vehicle call. The
report only had a first name listed, which was "Isaiah." Additionally, investigators
learned through a phone porting database that 912-492-XXXX is an AT&T number
associated with a family member of DOTSON's named Janice Dotson.

11. 16. On April 18, 2022, United States Magistrate Judge John K. Larkins III from
the Northern District of Georgia authorized a warrant for GPS location information for
912-492-XXXX believed to be utilized by DOTSON. The information from AT&T
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provided a radius of hundreds or thousands of meters and was too inaccurate to
precisely locate DOTSON. The data from the April 18, 2022, warrant indicates that
912-492-XXXX frequently moves locations. Those locations include Lubbock, TX;
Houston, TX; Las Vegas, NV.; South Carolina; and to Hinesville, GA (DOTSON's
hometown). Therefore, on May 25, 2022, law enforcement obtained an additional
warrant from United States Magistrate Judge Pedro Castillo in the Central District of
California for the use of a cell site simulator. At the time of the application for the
search warrant, the pings from AT&T showed 912-492-XXXX in the Los Angeles area.
However, between then and the next day 912-492-XXXX traveled to the metropolitan
San Diego area. The cell site simulator warrant included language to allow for
execution outside the Central District of California.

12. On June 2, 2022, law enforcement utilized the cell site simulator for 912-492-
XXXX and located DOTSON in San Diego. Based on the cell site information, I was
able to locate DOTSON and observed DOTSON driving a silver sedan, a Toyota Avalon,
with a Georgia license plate registered to a family member. Due to DOTSON's fugitive
status and prior criminal history, the San Diego Police Department conducted a felony
vehicle stop of the Avalon. During the stop, law enforcement encountered DOTSON
as well as a female passenger. DOTSON provided law enforcement with verbal consent
to search the Avalon, resulting in the seizure of one pistol magazine loaded with .40
caliber ammunition. Law enforcement placed DOTSON under arrest for being a felon
in possession of ammunition.

13. Based on my training and experience, and the experience and ATF agents I work
with, I know that no .40 caliber ammunition is· not manufactured in California.
Therefore, by its very presence in San Diego, these 10 rounds had travelled in and
affected interstate commerce.
